Case 3:22-cv-00049-NKM-JCH Document 145 Filed 01/26/23 Page 1 of 6 Pageid#: 1378




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :
  CAROLINA, BY AND THROUGH NEXT          :                 CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X


               JOINT MOTION TO MODIFY AMENDED PRETRIAL ORDER

         Plaintiffs Baby Doe, John Doe and Jane Doe, and Defendants Joshua Mast, Stephanie

  Mast, Richard Mast, Kimberley Motley, Ahmad Osmani, Secretary Antony Blinken and General

  Lloyd Austin, by counsel, file this Joint Motion to Modify Pretrial Order (ECF No. 81) such that

  the deadlines relating to expert discovery are extended by approximately three months.
Case 3:22-cv-00049-NKM-JCH Document 145 Filed 01/26/23 Page 2 of 6 Pageid#: 1379




         Under Rule 16(b) of the Federal Rules of Civil Procedure, the Court may modify a

  scheduling order for good cause. Here, good cause exists because discovery has only recently

  begun and motion practice may moot the need for expert discovery altogether, thereby saving

  time and expense for the parties and the Court. Providing the parties additional time to engage in

  expert discovery will provide them the opportunity to determine whether and to what extent

  expert discovery is actually needed in this matter. Extending the deadlines for expert discovery

  will not otherwise affect the schedule entered by the Court.

         Accordingly, the parties propose that the deadlines for expert discovery be extended as

  noted below:

   Event                            Original Deadline               Revised Deadline
   Plaintiffs’ Initial Expert       February 23, 2023               May 24, 2023
   Disclosures
   Defendants’ Initial Expert       March 10, 2023                  June 8, 2023
   Disclosures
   Deadline to Complete             90 days before trial date       No change
   Discovery
   Deadline to File Dispositive     75 days before trial date       No change
   Motions
   Deadline for Hearing             45 days before trial date       No change
   Dispositive Motions

         The parties, therefore, respectfully ask the Court for an order modifying the deadlines set

  forth in the Amended Pretrial Order (ECF No. 81) in accordance with the schedule suggested

  herein. A proposed Second Amended Scheduling Order is attached hereto for the Court’s

  consideration.



  Dated: January 26, 2023               Respectfully submitted,


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Case 3:22-cv-00049-NKM-JCH Document 145 Filed 01/26/23 Page 3 of 6 Pageid#: 1380




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Case 3:22-cv-00049-NKM-JCH Document 145 Filed 01/26/23 Page 4 of 6 Pageid#: 1381




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Case 3:22-cv-00049-NKM-JCH Document 145 Filed 01/26/23 Page 5 of 6 Pageid#: 1382




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Case 3:22-cv-00049-NKM-JCH Document 145 Filed 01/26/23 Page 6 of 6 Pageid#: 1383




                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 26th day of January 2023, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

  to all CM/ECF participants.




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